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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

 ROTHSCHILD CONNECTED DEVICES        §
 INNOVATIONS, LLC                    §
                                     §
       Plaintiff,                    §                  Case No: 2:15-cv-01431-JRG-RSP
                                     §
 vs.                                 §                  LEAD CASE
                                     §
 GUARDIAN PROTECTION SERVICES, §
 INC.                                §
                                     §
       Defendant.                    §
 ____________________________________§
 ROTHSCHILD CONNECTED DEVICES §
 INNOVATIONS, LLC                    §
                                     §
       Plaintiff,                    §                  Case No: 2:15-cv-001468-JRG-RSP
                                     §
 vs.                                 §                  CONSOLIDATED CASE
                                     §
 ICON SECURITY SYSTEMS, INC.         §
                                     §
       Defendant.                    §
 ___________________________________ §


         MOTION TO DISMISS DEFENDANT ICON SECURITY SYSTEMS, INC.
                           WITHOUT PREJUDICE


        Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure and the terms of a settleme nt
 agreement, Plaintiff Rothschild Connected Devices, LLC (“Rothschild”) files this Unopposed
 Motion to Dismiss Defendant Icon Security Systems, Inc. (“Defendant” or “Icon) Without
 Prejudice. Plaintiff states that in accordance with Rule 41, this dismissal is being filed prior to the
 filing of an answer or motion for summary judgment.
        Wherefore, Symbology moves this Court to dismiss this action and all claims by
 Symbology against Icon, without prejudice, with each party to bear its own costs, attorney’s fees
 and other litigation expenses and request that the Court enter the proposed order of dismissa l
 submitted herewith.
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 Dated: November 25, 2015                        Respectfully submitted,


                                                 /s/ Jay Johnson
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                                                 ATTORNEYS FOR PLAINTIFF



                                    CERTIFICATE OF SERVICE

         The undersigned certifies that all counsel of record who have consented to electronic service are
 being served with a copy of this document via the Court’s CM/ECF system per Local Rule CV-5(a)(3) on
 this November 25, 2015.

                                                 /s/ Jay Johnson
                                                 Jay Johnson
